                     IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


Hinsdale Bank & Trust Company

                                             Plaintiff,
                         v.                                Case No.
Harsha Hatti                                               Assigned Judge:

                                                          Magistrate Judge:

                                          Defendants.


                         COMPLAINT FOR BREACH OF GUARANTY

       NOW COMES Plaintiff, Hinsdale Bank & Trust Company (the “Plaintiff” or

“Hinsdale”), and for its complaint against defendant Harsha Hatti (“Guarantor”) states as

follows:

       1.      This Court has original subject matter jurisdiction in this lawsuit pursuant to

28 U.S.C. §1332(a), because the matter in controversy is between citizens of different states

and it exceeds the sum of $75,000, exclusive of interest and costs.

       2.      This Court has personal jurisdiction over the defendant under 735 ILCS

5/2-209(a) & (b).

       3.      Venue is proper in this district pursuant to 28 U.S.C. §1391.

       4.      Plaintiff is a state bank organized under the State of Illinois, the main office of

which is located in Hinsdale, Illinois.

       5.      The defendant, Harsha Hatti, is a citizen of the State of West Virginia, and was

at all times referenced in this Complaint, domiciled in Charles Town, West Virginia.

       6.      On or about August 31, 2017, Plaintiff, extended credit to Hatti Group RE
Chicago LLC (“Borrower”) in the amount of $2,500,000.00. As evidence of the Loan,

Borrower executed a Promissory Note in favor of Plaintiff dated August 31, 2017, in the

principal amount of $2,500,000.00 as modified by a certain Amended and Restated Note

executed in October of 2017 (collectively the “Note”).   A true and correct copy of the Note

is attached hereto as Exhibit A and by express reference made a part hereof.

        7.     As additional security for the Note, Guarantor executed a certain Guaranty of

Payment (“Guaranty”) in favor of Plaintiff guarantying payment of all amounts due on the

Note.    A true and correct copy of the Guaranty is attached hereto as Exhibit B.

        8.    Borrower allowed numerous Events of Default (“Events of Default”) to occur

under the terms of the Note, including Borrower’s failure to pay the monthly principal and

interest payments when due for October 1, 2018 and thereafter.

        9.     Based upon the Events of Defaults, Plaintiff elected to accelerate the Note,

which, under the terms of the Note it is permitted to do without notice.

        10.    Neither Borrower, nor any party on behalf of Borrower, has paid the Note in

full.

        11.    As of September 11, 2019, there was (a) principal due and owing under the

Note in the total amount of $2,426,150.86, (b) interest due and owing under the Note in the

total amount of $114,253.67, (c) plus late fees in the amount of $9,792.86, (d) appraisal

expenses in the amount of $3,250.00, and (e) additional legal and consultant fees and

expenses, appraisal fees, and other costs incurred under the Note.

        12.    Notwithstanding Borrower’s default under the terms of the Note and

Guarantor’s obligation to pay all amounts due on the Note, Guarantor has not paid the Note



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in full, which failure constitutes a default under the terms of the Guaranty.

        13.      Under the terms of the Guaranty, Guarantor also guaranteed payment of any

of attorney’s fees and cost incurred by Plaintiff in enforcing its rights under the Note.

        14.      By reason of the foregoing, as of September 11, 2019, Guarantor is indebted

to the Plaintiff in the amount of $2,553,447.39 consisting of (a) principal due and owing

under the Note in the total amount of $2,426,150.86, (b) interest due and owing under the

Notes in the total amount of $114,253.67, (c) plus late fees in the amount of $9,792.86 (d)

appraisal expenses in the amount of $3,250.00 and (e) additional legal and consultant fees

and expenses, appraisal fees, and other costs incurred under the Note and Guaranty.

        WHEREFORE, the Plaintiff, Hinsdale Bank & Trust Company, requests that this Court

enter judgment in its favor and against the defendant, Harsha Hatti in the amount of

$2,553,447.39, plus interest, late charges, attorney fees and additional costs due on the

Guaranty, and for such other and further relief as is just.

                                            Hinsdale Bank & Trust Company,

                                            By: /s/ Matthew L. Hendricksen
                                                    One of its Attorneys
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